10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

CaS€ 19-50130-btb DOC 18 Entered 02/04/19 19259:13

CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY M. O'STEEN, ESQ.
Nevada Bar No. 10949

CLARK HILL PLC

3800 Howard Hughes Parkway, Suite 500
Las Vegas, NV 89169

Telephone: (702) 862-8300
Facsimile: (702) 862-8400
CCarlyon@ClarkHill.corn
TOSteen@ClarkHill.com

[Proposea'] Counselfor Debtors in Possessz`on

Page 1 of 7

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

In re Case No.: BK-19-50130-BTB

Chapter ll
DC SOLAR SOLUTIONS, INC

Proposed Joint Administration With:

 

Debtor. 19-50102-btb

Double Jump, Inc.

 

19-50103-btb

Dora Dog Properties, LLC

 

19-50104-btb

Dog Blue Properties LLC

 

l9-50105-btb

Brandy Boy Properties, LLC

 

19-50106-btb

475 Channel Road, LLC

 

19-50108-btb

Park Road, LLC

 

19-50109-btb

140 Mason Circle, LLC

 

 

19-50131-btb

 

 

DC Solar Distribution, Inc.

 

ATTORNEY INFORMATION SHEET IN
SUPPORT OF EX PARTE APPLICATION
FOR ORDER SHORTENING TIME TO
HEAR DEBTOR’S INITIAL EMERGENCY
MOTIONS

 

 

As required by the Court, I have contacted the parties listed below regarding the proposed

Order Shortening Timc to hear Debtors’ Initial Emergcncy Motions. The parties agree or disagree

to the time being shortened, as indicated bclow:

 

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 19-50130-btb Doc 18 Entered 02/04/19 19:59:13 Page 2 of 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Date ' _

Contacted Agree Dlsagree Comments
Kristine Kinne, Office of the 2/4/ 19 No response
US Trustee
Dan Bryant, Internal Revenue 2/4/ 19 No response
Service
Marc Schultz and Joe Adams, 2/4/ 19 No response
Counsel for Solarrnore
Management, Inc.
Michael Stepanian, Halo 2/4/ 19 No response
Managernent Services
Mark J. Connot, Counsel for 2/4/ 19 No response
Xtreme Manufacturin g
Zachary M. Moretz, Counsel 2/4/ 19 No response
for Green Energy Concepts,
Inc.
J ames Recker, Crestmark Ban] 2/4/ 19 No response
Larry Cooper, Suntrust 2/4/ 19 No response
Equipment Finance & Leasing
Corp.
Thomas Pericak and Harry 2/4/ 19 No response
Hardin, Hancock Whitney
Equipment Finance & Leasing
LLC
Steven Speece, Counsel for 2/4/ 19 No response
Solarsense
Adam Schwartz, Counsel for 2/4/ 19 No response
Barry Hacker
Craig Sheftell, Fallbrook 2/4/ 19 No response
Capital Securities
Payrnon Hifai, Counsel for 2/4/ 19 No response
AMAC Construction
McDouglass Group, Inc.
J im Voyles, Counsel for Chip 2/4/ 19 No response
Ganassi Racing
Kirk Giberson, Counsel for 2/4/ 19 No response
Benicia Invcstrnent
LLC/Benicia Industrial LLC
Chad Golder, Counsel for 2/4/ 19 No response
GEICO
Matthew W. Quall and 2/4/ 19 No response
Matthcw W. Dardenne,
Counsel for US Towcr
Andre Espinosa and Kevin 2/4/19 No response

Khasigian, U.S. Departmcnt 01
Justice

 

 

 

 

 

 

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 19-50130-btb Doc 18 Entered 02/04/19 19:59:13 Page 3 of 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l Name Date _
Contacted Dlsagree Comments

Sara Cho, Chris Nee, Daniel 2/4/ 19 X - The SEC objects '
Michael and Andrew Sporkin, to Debtor’s request foi
U.S. Securities and Exchange order shortening time
Commission with respect to the

Motion to Retail Glas:

Ratner and designatior

of Seth Freeman as the

Debtors’ chief

restructuring officer.

SEC’s position is that

either a Chapter ll

trustee should be

appointed, or the case

converted to chapter 7

or dismissed.
Naysan Grey, SMI 2/4/ 19 No response
Jason Sparks, Sparks PoWer 2/4/ 19
Troy Vitus, Pacific Metal 2/4/ 19 No response
Fabrication
Gurmeet Naroola, Chargelt t 2/4/19 No response
Mobility '
David Mitchell, ECI Fuel 2/4/ 19 No response
Systems
Larry Pearce, Crestmark 2/4/19 No response
Chris Fraga, Alternative 2/4/ 19
Energy Development Group
LLC & SolarSense LLC
Department of Employment, 2/4/ 19 No response
Training & Rehab.,
Employment Security Divisior
Nevada Department of 2/4/ 19 No response
Taxation, Bankruptcy Section
Bay Area Drainage, Inc. 2/4/19 No response
GWen Bertolami, Bertolami 2/4/ 19 No response
Engineering
BPXpress 2/4/19 No response
CA Construction 2/4/ 19 No response
Contra Costa County Tax 2/4/19 No response
Collector
DeBolt Civil Engineering 2/4/ 19 No response
HaI`I‘iS & SlOaIl COnSllltirlg 2/4/ 19 N() response
Engineers, Inc.
JQ Yu Constructcion, Inc. 2/4/ 19 NO response
Legacy Framers, Inc. 2/4/ 19 No response
Lestcr Construction 2/4/ 19 No response

 

 

 

 

 

 

.l>

\DOO\]O`\U\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 19-50130-btb Doc 18 Entered 02/04/19 19:59:13 Page 4 of 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name l g::letacted Agree Disagree Comments
National Construction 2/4/19 No response
Rentals, Inc.
RB Painting 2/4/19 No response
Steven, Ferrone & Bailey 2/4/ 19 No response
Engineering Co.
Stillwater Insurance 2/4/ 19 No response
Company
Foremost Insurance 2/4/ 19 No response
Las Vegas Valley Water 2/4/ 19 No response
District
NV Energy 2/4/19 No response
R€publiC S€I'ViC€ 2/4/19 No response
Clark County Treasurer 2/4/19 No response
Texas Workforce 2/4/ 19 No response
Commission
Regulatory Integrity 2/4/ 19 No response
Division
Vintage Valley 2/4/ 19 No response
AIG Private Client Group 2/4/ 19 No response
C.L. Raffety, CPA 2/4/ 19 No response
CA Construction 2/4/ 19 No response
City of Martinez 2/4/19 No response
Freds Floor Coverings 2/4/ 19 No response
Lester Construction 2/4/19 No response
Mark Scott Construction, 2/4/ 19 Sent response
IHC» thanking us .for
the information,
but did not
indicate whether
consent was
given.
Napa County Tax Coll'ector 2/4/ 19 No response
Native Sons Landscaping, 2/4/ 19 No response
Inc.
Paciflc Link Intl. 2/4/ 19 No response
Shaun Rang 2/4/ 19 No response
Alderwood Property CA 2/4/ 19 No response
Alexander & Associates 2/4/ 19 No response
California Retaining Walls 2/4/ 19 No response
Co.
Clark County Treasurer 2/4/ 19 No response ~
Contra Costa County D€pt. 2/4/ 19 No response
of Development
Zalanta Association 2/4/ 19 No response
Williamson County TaX 2/4/ 19 No response
Office
Maricopa County Treasurer 2/4/ 19 | No response

 

 

 

 

 

 

 

 

.h

\IO\U\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 19-50130-btb Doc 18 Entered 02/04/19 19:59:13 Page 5 of 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name gz;emcted Agree Disagree Comments
South Tahoe Public Utility 2/4/ 19 No response
The Boulders Casitas Condo 2/4/19 No response
Assoc.

City of Scottsdale 2/4/19 No response
A Valdivia Landscaping 2/4/ 19 No response
AVD Security 2/4/19 No response
Boulder Exterminators, Inc. 2/4/ 19 No response
Charter Communications 2/4/19 No response
Green Leaf A/C & Heating 2/4/19 No response
Liberty Utilities 2/4/19 No response
California Pacific Electric 2/4/19 No response
Co.

Charles Lomeli, Tax Collector 2/4/ 19 No response
Solano County

Indoor Environmental 2/4/19 No response
Services Corp.

Orkin Services of California, 2/4/ 19 No response
Inc.

City Of B€niCia 2/4/ 19 No response
Coast Landscape 2/4/ 19 No response
Management Corp.

PG&E 2/4/ 19 No response
Coast Landscape Mgmt., Inc. 2/4/ 19 No response
CRS Commercial Real 2/4/ 19 X

Estate

Orkin Services of California 2/4/ 19 No response
AT&T 2/4/19 No response
Family Security Locksmith 2/4/ 19 No response
Americrown Daytona 2/4/ 19 No response
Speedway

AT&T Mobility 2/4/ 19 No response
CED 2/4/19 No response
Charge Point 2/4/19 No response
Chip GanaSSi Racing,.LLC 2/4/]9 No response
Cranbrook Realty 2/4/19 No response
Investment Fund, LP

ECI Fuel Systems 2/4/ 19 No response
Exide (c/o Exide 2/4/ 19 No response
Technilogies)

Hanover Insurance Group 2/4/ 19 No response
International Speedway 2/4/19 No response
Corp.

Kansas Speedway 2/4/ 19 No response
NetJet Sales, Inc. 2/4/ 19 No response
Pacific Metal Fabrication 2/4/19 No response
LLC

Phoenix Motor Speedway 2/4/19 No response

 

 

 

 

 

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 19-50130-btb Doc 18 Entered 02/04/19 19:59:13 Page 6 of 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name gistacted Agree Disagree Comments
Richmond lnternational 2/4/19 No response
Raceway

Soligent Distribution LLC 2/4/19 No response
Talladega Superspeedway 2/4/ 19 No response
US Tower Corp. 2/4/ 19 No response
WEX Fleet 2/4/19 No response
Xtreme Manufacturing LLC 2/4/19 No response
Americrown Daytona 2/4/19 No response
S eedway

Ahern Rentals, Inc. 2/4/19 No response
Hancock Whitney 2/4/19 No response
Equipment Finance &

Leasing LLC

JG Energy Solutions, LLC 2/4/] 9 No response
Solar Eclipse Investment 2/4/ 19 No response
Fund IV

Solar Eclipse Investment 2/4/19 No response
Fund VII

Solar Eclipse Investment 2/4/ 19 No response
Fund VIII

Solar Eclipse Investment 2/4/19 No response
Fund XII

Solar Eclipse Investment 2/4/ 19 No response
Fund XIV

Solar Eclipse Investment 2/4/19 No response
Fund XVI

Solar Eclipse Investment 2/4/ 19 No response
Fund XVIII

Solar Eclipse Investment 2/4/ 19 No response
Fund XXII

Solar Eclipse Investment 2/4/ 19 No response
Fund XXIII

Solar Eclipse Investment 2/4/ 19 No response
Fund XXIX

Solar Eclipse Investment 2/4/19 No response
Fund XXVI

Solar Eclipse Investment 2/4/19 No response
Fund XXVII

Solar Eclipse Investment 2/4/19 No response
Fund XXX

Solar Eclipse Investment 2/4/19 No response
Fund XXX II

Solar Eclipse Investment 2/4/ 19 No response
Fund XXX III

Solar Eclipse Investment 2/4/ 19 No response
Fund XXXIV

Suntrust Equipment Finance 2/4/ 19 No response
& Leasing Corp

 

 

 

 

 

 

 

 

 

\IO\

00

10
11
12
_ 13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 19-50130-btb Doc 18 Entered 02/04/19 19:59:13 Page 7 of 7

Respectii,llly submitted this 4th day of February, 2019.

CLARK HILL PLC
/s/.‘ Tracy M O ’Steen

 

CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY M. O’STEEN, ESQ.

Nevada Bar No. 10949

3800 Howard Hughes Parkway, Suite 500
Las Vegas, NV 89169

Telephone: 702-862-8300

Facsimile: 702-862-8400
CCarlyon@ClarkHill.com
TOSteen@ClarkHill.com

[Proposed] Counselfor Deblors in Possessz`on

 

